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         UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                                ACO-008
                                         No. 22-3034

                                   Daniel D'Ambly, et al.,
                                            Appellants

                                                 v.

                                    Christian Exoo, et al.

                                 (D.N.J. No. 2-20-cv-12880)

 Present: HARDIMAN, MONTGOMERY-REEVES, and AMBRO, Circuit Judges

        1. Clerk Order 11/03/2022;

        2. Response from Appellees Twitter Inc and Vijaya Gadde;

        3. Response from Appellee Christian Exoo;

                                                                Respectfully,
                                                                Clerk/amr

 _________________________________ORDER________________________________
          The plaintiffs have appealed a September 30, 2022, order resolving some, but not
 all, of their claims. This appeal is hereby dismissed for lack of jurisdiction. The District
 Court’s order is not final within the meaning of 28 U.S.C. § 1291. An order is final
 where it ends the litigation on the merits and leaves nothing for the court to do but
 execute the judgment. Catlin v. United States, 324 U.S. 229, 233 (1945). Here, the order
 on appeal left claims pending in the District Court, and the plaintiffs did not seek
 certification of the order pursuant to Federal Rule of Civil Procedure 54(b). See Morton
 Int’l, Inc. v. A.E. Staley Mfg. Co., 460 F.3d 470, 476 (3d Cir. 2006).



                                                                          By the Court,

                                                                          s/ Thomas M. Hardiman
                                                                          Circuit Judge

 Dated: October 23, 2023
 Amr/cc: All counsel of record    A True Copy:



                                  Patricia S. Dodszuweit, Clerk
                                  Certified Order Issued in Lieu of Mandate
